                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JEANNE OLSON, Trustee of the             )
WILLIAM AMOR Trust,                      )           Case No. 18 CV 2523
as successor plaintiff,                  )
                                         )           Honorable John J. Tharp, Jr.
              Plaintiff,                 )
                                         )
       v.                                )
                                         )
REBECCA GOMEZ, as Special Representative )
for Michael Cross, deceased, et al.,     )
                                         )
              Defendants.                )           JURY TRIAL DEMANDED

                 DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE
              TO FILE EXCESS PAGES FOR THEIR MOTION IN LIMINE
              TO BAR RICHARD LEO PURSUANT TO LOCAL RULE 7.1

       Defendants Rebecca Gomez, as Special Representative for Michael Cross, deceased,

Robert Guerrieri, Brian Cunningham, and the City of Naperville, (collectively, “Defendants”), by

and through their attorneys, The Sotos Law Firm, P.C., hereby move this Honorable Court for

entry of an order granting them leave to file their Motion in Limine to Bar Testimony and

Opinions of Richard Leo in excess of fifteen pages, seeking an additional five pages pursuant to

Local Rule 7.1. In support of their motion, Defendants state as follows:

       1.      Plaintiff has filed a ten-count Complaint against the City of Naperville and three

of its former police officers pursuant to 42 U.S.C. § 1983 and Illinois law, alleging that he was

wrongfully convicted of the crimes of first-degree murder and aggravated arson.

       2.      Daubert motions are to be filed by the parties on May 17, 2024. (Dkt. 221.) The

Defendants have prepared a Motion in Limine to Bar Testimony and Opinions of Richard Leo,

which addresses Leo’s 52-page Report plus exhibits and deposition testimony related to his ten

opinions.
       3.      The undersigned has reviewed the Motion in Limine to Bar Testimony and

Opinions of Richard Leo and edited the brief in an attempt to eliminate any redundant or

unnecessary facts and arguments. Notwithstanding that effort, given the age and complexity of

this case, the number of parties, the issues presented, and the voluminous evidentiary record,

additional pages are necessary to adequately address all of Leo’s opinions and testimony.

Defendants’ Motion in Limine to Bar Testimony and Opinions of Richard Leo exceeds the

fifteen-page limit set by Local Rule 7.1 by five pages, for a total of 20 pages, attached hereto as

Exhibit A.

       4.      This motion is not brought for purposes of harassment or undue burden.

       5.      Additionally, on May 16, 2024, the undersigned conferred with counsel for

Plaintiff, who has no objection to this motion.

       6.      Accordingly, Defendants respectfully request that this Court grant this motion and

grant them leave to file their Motion in Limine to Bar Testimony and Opinions of Richard Leo

totaling 20 pages.

       WHEREFORE, Defendants pray that this Honorable Court enter an order granting them

leave to file their Motion in Limine to Bar Testimony and Opinions of Richard Leo with an

additional five pages, pursuant to Local Rule 7.1.

Date: May 17, 2024                            Respectfully submitted,

                                              /s/ Laura M. Ranum
James G. Sotos                                LAURA M. RANUM, Attorney No. 6300636
Laura M. Ranum                                One of the Attorneys for Defendants
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                                CERTIFICATE OF SERVICE

        I hereby certify under penalty of perjury pursuant to 28 U.S.C.A. § 1746 that on May 17,
2024, I electronically filed the foregoing Defendants’ Unopposed Motion for Leave to File
Excess Pages for Their Motion In Limine to Bar Testimony and Opinions by Richard Leo
Pursuant to Local Rule 7.1with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to the following CM/ECF participants listed on the below Service
List:

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                                            /s/ Laura M. Ranum
                                            LAURA M. RANUM, Attorney No. 6300636
                                            One of the Attorneys for Defendants




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